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                                     UPDATED 1 EXHIBIT A
                         LIST OF LAW FIRMS AND PLAINTIFFS’ LAWYERS
                        SUPPORTING NATALIA M. SALAS AS LEAD COUNSEL

   1. BLAISE AND NITSCHKE PC                                             9. DOMINA LAW GROUP
      Lanna Nassar, Esq., Heather Blaise, Esq., and                         David A. Domina, Esq.
      Thomas Key, Esq.                                                      2425 South 144th Street
      123 North Wacker Drive, Suite 250                                     Omaha, NE 68144
      Chicago, IL 60606
                                                                         10. EVANGELISTA WORLEY, LLC
   2. BROWNE GEORGE ROSS O'BRIEN                                             Kristi McGregor, Esq. and Stuart J. Guber,
      ANNAGUEY & ELLIS LLP                                                   Esq.
      Dennis S. Ellis, Esq. and Matthew Venezia,                             500 Sugar Mill Road, Bldg. A Suite 245
      Esq.                                                                   Atlanta, GA 30350
      2121 Avenue of the Stars, Suite 2800
      Los Angeles, CA 90067                                              11. FARRAR BALL LLP
                                                                             William Rey Ogden, Esq.
   3. BURSTYN LAW FIRM PLLC                                                  1117 Herkimer Street
      Sean Burstyn, Esq.                                                     Houston, TX 77008
      355 Lexington Ave, Floor 8
      New York, NY 10017-660                                             12. GRAY ROBINSON, P.A.
                                                                             Savannah Clifton, Esq. and Jason
   4. CHELIN LAW FIRM                                                        Zimmerman, Esq.
      Stuart Chelin, Esq.                                                    301 East Pine Street
      1801 Century Park East, Suite 2500                                     Orlando, FL 32803
      Los Angeles, CA 90076
                                                                         13. GUCOVSCHI LAW PLLC
   5. COHEN & MCMULLEN, P.A.                                                 Adrian Gucovschi, Esq.
      Bradford Cohen, Esq. and Michael James                                 630 Fifth Avenue, Suite 2000
      McMullen, Esq.                                                         New York City, NY 10111
      1132 SE 3rd Avenue
      Fort Lauderdale, FL 33316                                          14. HACH ROSE SCHIRRIPA & CHEVERIE
                                                                             LLP
   6. DARIO DIAZ LAW                                                         Frank Schirripa, Esq. and Kathryn Hettler,
      Dario Diaz, Esq.                                                       Esq.
      1101 N Armenia Ave                                                     112 Madison Ave
      Tampa, FL 33607                                                        New York, NY 10016

   7. DEREK SMITH LAW GROUP, PLLC                                        15. JUSTICE FOR JUSTICE, LLC
      Abraham Melamed, Esq., Alexander                                       Chad A. Justice, Esq.
      Cabeceiras, Esq. and Ishan Dave, Esq.                                  1205 N. Franklin St., Suite 326
      633 West 5th Street, Suite 3250                                        Tampa, FL 33602
      Los Angeles, CA 90071
                                                                         16. JEFFREY E. KWATINETZ, ESQ.
   8. D. MILLER & ASSOCIATES, PLLC                                           15821 Ventura Blvd., Suite 370
      Anuj Kapur, Esq. and Andy Rubenstein, Esq.                             Encino, CA 94136
      2610 W. Sam Houston Parkway, Suite 200
      Houston, TX 77042


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    This Updated Exhibit A no longer refers to Varnell and Warwick, P.A., as that firm’s case was voluntarily dismissed to file a
  new case in state court. Additionally, this Updated Exhibit A hereby clarifies that the support from McDonald Worley, P.C.,
  and Farrar Ball LLP is for the application of Natalia M. Salas only; the prior Exhibit A inadvertently referred to those firms as
  supporting other applications, but those two law firms take no position with respect to any application other than supporting Ms.
  Salas' application.
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   17. LAW OFFICES OF GARY R.                              24. MCKAY LAW LLC
       CARLIN, APC                                             Michael C. McKay, Esq.
       Gary Richard Carlin, Esq.                               5635 North Scottsdale Road, Suite 170
       301 East Ocean Boulevard, Suite                         Scottsdale, AZ 85250
       1550 Long Beach, CA 90802
                                                           25. NAPOLI SHKOLNIK PLLC
   18. LAW OFFICES OF JONATHAN                                 Paul Napoli, Esq. and Hunter Skholnik, Esq.
       LUBIN                                                   400 Broadhollow Road
       Jonathan D. Lubin, Esq.                                 Melville, NY 11747
       8800 Bronx Ave, Suite 100H
       Skokie, IL 6077                                     26. OLSENDAINES
                                                               Michael Fuller, Esq.
                                                               111 SW 5th Ave., Suite 3150
   19. LAW OFFICES OF R.                                       Portland, OR 97204
       TAMARA DE SILVA, LLC
       R. Tamara de Silva, Esq.                            27. PESSAH LAW GROUP PC
       980 N Michigan Avenue, Suite 1400                       Maurice Pessah, Esq.
       Chicago, IL 60611                                       661 North Harper Avenue, Suite 208
                                                               West Hollywood, CA 90048
   20. LAW OFFICES OF STEPHEN J.
                                                           28. REICH & BINSTOCK LLP
       CARRIERO
       Stephan E. Seeger, Esq.                                 Shreedhar R. Patel, Esq.
       810 Bedford Street, Suite #3                            4265 San Felipe, Ste. 1000
                                                               Houston, TX 77027
       Stamford, CT 06901
                                                           29. SIRI & GLIMSTAD LLP
   21. MATTLAW
       Matthew Powell, Esq.                                    Elizabeth Ann Brehm, Esq., Rachel Meese,
       304 S Plant Ave                                         Esq., Aaron Siri, Esq., and Mason Barney,
                                                               Esq.
       Tampa, FL 33606
                                                               200 Park Avenue, 17th Floor
                                                               New York, NY 10166
   22. MCCATHERN, SHOKOUHI, EVANS,
       GRINKE
                                                           30. WEIL SNYDER & RAVINDRAN, PA
       Evan Selik, Esq. and Christine C. Zaouk, Esq.
                                                               Ronald Weil, Esq. and Marguerite Clare
       523 W Sixth Street, Suite 830
                                                               Racher Snyder, Esq.
       Los Angeles, CA 90014
                                                               200 South Biscayne Boulevard, Suite 900
                                                               Miami, FL 33131
   23. MCDONALD WORLEY, P.C.
       Gabriel Amin Assaad, Esq.
                                                           31. WENZEL FENTON CABASSA, P.A.
       1770 St. James Place, Suite 100
                                                               Brandon J Hill, Esq.
       Houston, TX 77056
                                                               1110 North Florida Avenue, Suite 300
                                                               Tampa, FL 33602




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